          Case 2:13-cr-00263-JDC-KK Document 106 Filed 01/20/22 Page 1 of 4 PageID #: 544
AO 245D       (Rev. 09/19 - WDLA) Judgment in a Criminal Case for Revocations
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                             Western District of Louisiana
                                                                  Lake Charles Division
                                                                                        JUDGMENT IN A CRIMINAL CASE
             UNITED STATES OF AMERICA                                                   (For Revocation of Probation or Supervised Release)
                                  v.

                   TODD ALLEN BOOTH                                                     Case Number:              2:13-CR-00263-1
                                                                                        USM Number:               06953-095

                                                                                        James Lorne Klock
                                                                                        Defendant’s Attorney
THE DEFENDANT:                                          Violation #1, MC No. 3, Violation #2, St. C. No. 3, Violation #3, St. C. No. 5, Violation #4,
☒ admitted guilt to violation of condition(s)           St. C. No. 7, Violation #5, St. C. No. 13.                 of the term of supervision.

☐ was found in violation of condition(s)                                                                    after denial of guilt.

The defendant is adjudicated guilty of these violations:
Violation Number             Nature of Violation                                                                                     Violation Ended
See Pages 2 and 3




       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐      The defendant has not violated condition(s)                                            and is discharged as to such violations(s) conditions.


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                 January 20, 2022
                                                                                Date of Imposition of Judgment



                                                                                Signature of Judge


                                                                                         James David Cain, United States District Judge
                                                                                Name of Judge                                               Title of Judge

                                                                                        January 24, 2022
                                                                                Date
          Case 2:13-cr-00263-JDC-KK Document 106 Filed 01/20/22 Page 2 of 4 PageID #: 545
AO 245D    (Rev. 09/19 - WDLA) Judgment in a Criminal Case for Revocations
           Sheet 1A

                                                                                                           Judgment — Page 2 of 4
                                                                                                       8
DEFENDANT:                  TODD ALLEN BOOTH
CASE NUMBER:                2:13-CR-00263-1


                                                     ADDITIONAL VIOLATIONS

 Violation Number             Nature of Offense                                                     Violation Ended
          1                   Mandatory Condition No. 3: The defendant shall not unlawfully         April 15, 2021
                              possess a controlled substance. The defendant shall refrain from any
                              unlawful use of a controlled substance. The defendant shall submit to
                              one drug test within 15 days of release from imprisonment and at
                              least two periodic drug tests thereafter, as determined by the court.

                              On April 15, 2021, Booth admitted to this officer that he was
                              currently using methamphetamine.
                              Evidence to support the violation includes the testimony of the
                              probation office and the lab report.

            2
                              Standard Condition No. 3: You must not knowingly leave the              April 15, 2021
                              federal Judicial district where you are authorized to reside without
                              first getting permission from the court or the probation officer.

                              On April 15, 2021, Booth admitted that he was not within the
                              Western District of Louisiana, that he was currently in Baton Rouge,
                              Louisiana in a LaQuinta Inn motel. The U.S. Probation office did not
                              authorize this travel.
                              Evidence to support the violation includes the testimony of the
                              probation office.

             3                Standard Condition No. 5: You must live at a place approved by the April 16, 2021
                              probation officer. If you plan to change where you live or anything
                              about your living arrangements (such as the people you live with),
                              you must notify the probation officer at least 10 days before the
                              change. If notifying the probation officer in advance is not possible
                              due to unanticipated circumstances, you must notify the probation
                              officer within 72 hours of becoming aware of a change or expected
                              change.

                              As of April 16, 2021, Booth's whereabouts are unknown.

                              Evidence to support the violation includes testimony of the probation
                              office.
          Case 2:13-cr-00263-JDC-KK Document 106 Filed 01/20/22 Page 3 of 4 PageID #: 546
AO 245B    (Rev. 09/11 - WDLA) Judgment in a Criminal Case
           Sheet 7 — Denial of Federal Benefits

                                                                                                        Judgment — Page 3 of 4
DEFENDANT:                  TODD ALLEN BOOTH
CASE NUMBER:                2:13-CR-00263(1)




            4               Standard Condition No. 7: You must work full time (at least 30            December 2, 2020
                            hours per week) at a lawful type of employment unless the probation
                            officer excuses you from doing so. If you do not have full-time
                            employment you must try to find full-time employment unless the
                            probation officer excuses you from doing so. If you plan to change
                            where you work or anything about your work (such as your position
                            or your job responsibilities), you must notify the probation officer at
                            least 10 days before the change. If notifying the probation officer at
                            least 10 days in advance is not possible due to unanticipated
                            circumstances, you must notify the probation officer within 72 hours
                            of becoming aware of a change or expected change.

                            Booth has not provided the probation office with requested
                            employment verification since December 2, 2020.

                            Evidence to support the violation includes the testimony of the
                            probation office.



            5               Standard Condition No. 13: You must follow the instructions of the         April 15, 2021
                            probation officer as related to the conditions of supervision.

                            On April 15, 2021, Booth was instructed to contact U.S. Probation
                            officer daily until he entered an inpatient rehabilitation facility to
                            provide updates on his current whereabouts as well as his current use
                            of illegal substances. The last contact this officer had with Booth was
                            on April 16, 2021.

                            On April 15, 2021, Booth was instructed to report to New
                            Beginnings, 145 Victoria Street, Lake Charles, Louisiana on April 18,
                            2021, at 11 :00 a.m., for purposes of inpatient substance abuse
                            treatment. This officer spoke with New Beginnings on April 19, 2021
                            and verified that Booth did not show up for inpatient treatment.

                            Evidence to support the violation includes the testimony of the
                            probation office.
          Case 2:13-cr-00263-JDC-KK Document 106 Filed 01/20/22 Page 4 of 4 PageID #: 547
AO 245D     (Rev. 09/19 - WDLA) Judgment in a Criminal Case for Revocations
            Sheet 2 — Imprisonment

                                                                                                                              Judgment — Page 4 of 4
                                                                                                                        8
DEFENDANT:                   TODD ALLEN BOOTH
CASE NUMBER:                 2:13-CR-00263-1


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of: 21 months with credit for time served in Federal custody. No term of supervised release to
follow.


     ☐        The court makes the following recommendations to the Bureau of Prisons:




     ☒        The defendant is remanded to the custody of the United States Marshal.

     ☐        The defendant shall surrender to the United States Marshal for this district:

          ☐      at                                  ☐ a.m.         ☐         p.m. on                                         .

          ☐      as notified by the United States Marshal.

     ☐        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐      before 2 p.m. on

          ☐      as notified by the United States Marshal.

          ☐      as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

          Defendant delivered on                                                           to

at                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                                 By
                                                                                                   DEPUTY UNITED STATES MARSHAL
